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_r _ COMMERCIAL CHECK CONTROL

 
 

101 NOrange Ave Ste I~` cCcL- 3 62 521-9 99
_ west Covina, cA 91790-2087 ( 6) 8
February 6, 2018
RE: NAr 3030 JEWB
§ . . 'l"ml'l"|l"lll|'|""'l'lll'ul'll'l"|""|'u'l'"l|"|'ll. mm.s Accmmt Numb¢r}gc'?z?f¥ls
_, §§ PERsoNAL a coNFlDENTlAL A mt Balan .
~ ANToNlo HosKle °°° °°‘ $88'96

 

--_~~-»~_ ,NoneEoF»RETURNEl)GEGK-~-~-~ ~ ' --~- ¢~

The BAD CHBCK(S) which you gave to our client (shown below) has beeh assigned to us for collection ’I"ho amount '
owed, which includes return check charges, appears in the box below. `

UN'HL TH]S lS RESOLVED, YOUR CHECKS MAY NOT BE APPROVED AT AN¥ CCC MERCHANT. ‘ v

Paymenx MUST be made to this office, and nowhere else, i'n order for you to receive credit lfyou have lpaid elseWheW, you
must ca11 us immediately Your returned check and check fee may be re-elea.red electronically

You can now make your payment to us over the Imemet. Log on to eommemialch§cg=@__m, select payment ieon, and follow
instructions. ,

FOR QUES'I’IONS REGARDING THIS ACCOUNT, CALL (626) 521-9899.

'I'HIS IS AN A'I'I'EMPT TO COLLECT A DEBT B¥ A DEBT COLLECTOR AND ANY INFORMA'HON
OBTAINED W]LL BE USED FOR THAT PURPOSE.

UNLESS YOU NOTIFY THIS OFFICE WI'I'HIN 30 DAYS AFTER RECEIVING THIS NOTICE THAT YOU
DISPUTE THE VALIDITY OF THIS DEBT OR A'NY PORTION THEREOF, 'I'H.IS OFFICE WILL ASSUME
THIS DEBT lS VALID. IF YOU NOTIFY THIS OFFICE lN WRITING WITHIN 30 DAYS FROM RECEIVING
THIS NOTICE 'I'HAT YOU DISPUTE THE VALIDITY OF TIIE DEBT OR ANY POR'I'ION 'I'HEREOF, THIS
OFFICE WILL OBTAJN VERIFICATION OF THE DEBT OR OBTAIN A COPY OF A JUDGMENT AND MAIL
YDU A COPY OF SUCH JUDGMENT OR VERIFICATION. IF YOU REQUEST 'I`HIS OFFICE IN WRI'I'ING
WITBIN 30 DAYS AFTER RECEIVING THIS NOTICE, THIS OFFICE WILL PROVIDE YOU WITH 'I'HE

NAME AND ADDRESS OF THE ORIGINAL CREDITOR, IF DIFFERENT FROM THE CURRENT CREDITOR.

 

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PAYMENT SLI.P

,`-;_ ‘,_-. , .-`., “_ ~,~ .-__._|V_ k `l

725-l z NAl 3030 JEWEL osco Drvls
' ` ' ' ' ' from

   
    

 

$38.41 $50.55

Make your check or money order payable to: ANTONIO Ho SKrNS

idi

Commercial Check Control
101 Norange Av¢ stel= ` P°b'“"’°'z°.”
,'West Covina, CA 91790-2087

3-ALB1 (lL)

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__ COMVIERCIAL CHECK CONTROL

 
 

101 N Orange Ave Ste F CCCL - 6 :' " (626) 521~9899
Wesc covina, cA 91790-2087 \
March 12, 2018
"..",

¢...i,m.n.""l..lm.|"|.i|.ql|l.....p"l|,.|...,.,lm.|,l `1,'“'2_3 §E: ALF§RTS%$ 25

PERsoNAL a coNFloENT\AL °°°“° B“mbl ° _ 8 5 '

ANToNlo HosKiNs A°°°‘mt a im°°~ $ 9~1

_. _,_ . FINALN_OTIQE. n _

-_ »_

We have attempted to collect the check(s) that you have issued assuming that you did not have any CR!I\MNAL
lN'I'ENT TO ISSUE CHECKS WITH INSUFFICIBNT FUNDS. Sinoe we have had no response, we are
reconsidering that assumption and will proceed accordingly

In most states there are laws that allow for CIVIL PROSECU'I'ION INCI..UDING DAMAGES UP TO 'I'HREE
TIMES THE AMOUNT OF THE CHECK (minimum $100 and maximum $1500 in California). You may wish to
contact your attorney for advice.

We report all unpaid balances to EQUIFAX, TRANS UNION and EXPERIAN. NEGATIVE DATA will be put on
a national data file which may prevent you from writing future checks at retail stores.

You can now make your payment to us over the lnternet. Log on to _c_og;im_rc_ia_l§@@g, select payment icon,
and follow instructions.

Should you wish to resolve this matter voltmtarily, please send the bottom portion of this letter along with your
payment in the enclosed envelope

THIS lS AN A'I'I`EMPT '1`0 COLLECT A DEBT BY A DEBT COLLECTOR AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

 

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d Detaoh And Return Vlflth Paymeo!
" ` " "" ` `_"" """ '_“" "‘ PA¥MENTSLIF

    

¢-~".'.".. "
--x, ,i' -__.

25 ALBERTSONS

 

338.41 $50.74

Make your check or money order payable to: AN'IONIO HOSKINS
Commercial Check Control
101 N Omgg¢ Avo gte 12 March 12, 2018

West Covina, CA 91790-2087

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